
AYRES, Judge.
The facts are similar and the issues are the same as those which existed and which were presented in the companion case of Texas Industries, Inc., d. b. a. Louisiana Industries, v. Dupuy &amp; Dupuy Developers, Inc., et al., bearing No. 11218 on the docket of this court, with which this case was consolidated for trial, and which has this day been decided (227 So.2d 265). The conclusions reached in the companion case are appropriate here.
Accordingly, the judgment appealed, so far as it condemned A. J. Dupuy, Sr., is annulled, avoided, reversed, and set aside; and
It is now ordered, adjudged, and decreed that the demands of the third-party plaintiff, American Title Insurance Company, against the third-party defendant, A. J. Dupuy, Sr., of whose estate The National Bank of Bossier City is administrator, and which has been substituted as proper party litigant, be, and the same are hereby, rejected and dismissed at the cost of the third-party plaintiff.
Reversed and rendered.
